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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE


 “BARBARA;” “SARAH,” by guardian, parent,               Case No. 1:25-cv-
 and next friend “SUSAN;” and “MATTHEW,”
 by guardian, parent, and next friend “MARK;” on
 behalf of themselves and all those similarly
 situated,

                    Plaintiffs,

                         v.

 DONALD J. TRUMP, President of the United
 States, in his official capacity; U.S.
 DEPARTMENT OF HOMELAND
 SECURITY; SECRETARY OF HOMELAND
 SECURITY, in their official capacity; U.S.
 DEPARTMENT OF STATE; SECRETARY
 OF STATE, in their official capacity; U.S.
 DEPARTMENT OF AGRICULTURE;
 SECRETARY OF AGRICULTURE, in their
 official capacity; CENTERS FOR MEDICARE
 AND MEDICAID SERVICES;
 ADMINISTRATOR OF THE CENTERS FOR
 MEDICARE AND MEDICAID SERVICES, in
 their official capacity,

                    Defendants.

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF;
                          CLASS ACTION L.R. 23.1

       1.      Birthright citizenship embodies America’s most fundamental promise: that all

children born on our soil begin life as full and equal members of our national community,

regardless of their parents’ origins, status, or circumstances. This principle has enabled generations

of children to pursue their dreams and build a stronger America.

       2.      The framers of the Fourteenth Amendment specifically enshrined this principle in

our Constitution’s text to ensure that no one—not even the President—could deny children born


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in America their rightful place as citizens. They did so with full knowledge and intent that this

would protect the children of immigrants, including those facing discrimination and exclusion.

       3.      The Citizenship Clause of the Fourteenth Amendment provides that “[a]ll persons

born or naturalized in the United States and subject to the jurisdiction thereof, are citizens of the

United States.” U.S. Const. amend. XIV, § 1.

       4.      In United States v. Wong Kim Ark, the Supreme Court confirmed that children born

in the United States of noncitizen parents are citizens under the Fourteenth Amendment’s

Citizenship Clause. 169 U.S. 649 (1898). Following Wong Kim Ark, Congress codified birthright

citizenship in a statute whose language mirrors the Fourteenth Amendment. See 8 U.S.C.

§ 1401(a).

       5.      In the over 125 years since the Supreme Court emphatically rejected the last effort

to undercut birthright citizenship in Wong Kim Ark, this principle has remained undisturbed

constitutional bedrock. Even through countless subsequent immigration debates, and periods of

intense anti-immigrant sentiment, this core constitutional guarantee has protected generations of

Americans and prevented the emergence of a hereditary underclass excluded from full

participation in American life.

       6.      For families across America today, birthright citizenship represents the promise

that their children can achieve their full potential as Americans. It means children born here can

dream of becoming doctors, lawyers, teachers, entrepreneurs, or even president—dreams that

would be foreclosed if their citizenship were stripped away based on their parents’ status.

       7.      Now, flouting the Constitution’s dictates, statutory commands, and longstanding

Supreme Court precedent, Defendant President Donald Trump has issued Executive Order No.

14,160, 90 Fed. Reg. 8449 (Jan. 29, 2025), entitled “Protecting the Meaning and Value of



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American Citizenship” (“the Order”), which attempts to upend one of the most fundamental

American constitutional values by denying citizenship to children born on American soil to a

mother who is “unlawfully present” or temporarily present, and a father who is not a U.S. citizen

or lawful permanent resident.

          8.     For Plaintiffs—children who will be denied citizenship under the order, and their

parents—and for families across the country, this Order seeks to strip away the “priceless treasure”

of citizenship, Fedorenko v. United States, 449 U.S. 490, 507 (1981), threatening them with a

lifetime of exclusion from society and fear of deportation from the only country they have ever

known. But that is illegal. The Constitution and Congress—not President Trump—dictate who is

entitled to full membership in American society.

         9.      The Order straightforwardly violates the Citizenship Clause, as well as the

birthright citizenship statute, and should be enjoined.

                                 JURISDICTION AND VENUE

         10.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331.

         11.     Venue is proper in the District of New Hampshire because Plaintiff Barbara resides

in the District. 28 U.S.C. § 1391(e)(1).

                                             PARTIES

          12.    Plaintiff “Barbara” 1 is a citizen of Honduras. She currently resides in New

Hampshire with her husband and three minor children. Barbara has an asylum application pending

with USCIS and has resided in the United States since 2024. Her husband, the father of her child,

is not a U.S.-citizen or lawful permanent resident. She and her husband are expecting their fourth



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    Plaintiffs wish to proceed under pseudonym, and a motion is forthcoming.
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child in October 2025. Barbara fears that under the Order, her child will be denied U.S. citizenship

at birth. She fears her child will be unjustly denied the security, rights, and opportunities that come

with U.S. citizenship, leaving their future in doubt.

       13.     Plaintiff “Susan” is a citizen of Taiwan. She currently resides in Utah. She has lived

in the U.S. for 12 years. She is currently in immigration status on a student visa and is in the

process of applying for lawful permanent resident status based on an approved employment-based

immigrant visa. Her husband, the father of her children, is not a U.S.-citizen or lawful permanent

resident. Susan gave birth to her fourth child, “Sarah,” in Utah in April 2025. She has three other

children, all of whom are U.S. citizens. After more than ten years of living in the U.S., she and her

family have established strong ties to the community. She fears for the future of her child. She

worries that her child will be subject to immigration enforcement. She is also fearful that her family

may be separated, or that her U.S.-citizen children will be forced to move to a country to which

they have never been and where they do not speak the language.

       14.     Plaintiff “Mark” is a citizen of Brazil. Mark currently resides in Florida. He has

lived in the United States for the past five years. He is currently in the process of applying for

lawful permanent status based on family ties. His wife gave birth to their first child, “Matthew,”

in Florida in March 2025. His wife does not have lawful status in the United States. After five

years of living in the U.S., Mark has established strong ties to the U.S. He fears for the future of

his child. He worries that his child will be subject to immigration enforcement.

       15.     Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity. In that capacity, he issued and will oversee the implementation of the Order

challenged in this lawsuit.




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        16.    Defendant U.S. Department of Homeland Security (“DHS”) is a cabinet-level

department of the United States federal government. Its components include U.S. Immigration and

Customs Enforcement (“ICE”) and Customs and Border Protection (“CBP”). ICE’s

responsibilities include enforcing federal immigration law within the interior of the United States,

including by carrying out deportations. CBP’s responsibilities include inspecting and admitting

people at international points of entry, including airports and land borders, and engaging in

immigration enforcement near the border.

        17.    Defendant Secretary of Homeland Security has responsibility for overseeing

enforcement and implementation of the Order by all DHS staff. They are sued in their official

capacity.

        18.    Defendant U.S. Department of State (“DOS”) is a cabinet-level department of the

United States federal government. DOS is responsible for the issuance of passports to United States

citizens.

        19.    Defendant Secretary of State has responsibility for overseeing enforcement and

implementation of the Order by all DOS staff. They are sued in their official capacity.

        20.    Defendant U.S. Department of Agriculture (“USDA”) is a cabinet-level department

of the United States. USDA administers the Supplemental Nutrition Assistance Program

(“SNAP”).

        21.    Defendant Secretary of Agriculture has responsibility for overseeing enforcement

and implementation of the Order by all USDA staff. They are sued in their official capacity.

        22.    Defendant Centers for Medicare and Medicaid Services (“CMS”) is an agency of

the United States. CMS provides health coverage to people in the United States through Medicaid.




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        23.      Defendant Administrator of the Centers for Medicare and Medicaid Services has

responsibility for overseeing enforcement and implementation of the Order by all CMS staff. They

are sued in their official capacity.

                                       STATEMENT OF FACTS

A. Legal Background

        24.      “Jus soli” is “the ancient and fundamental” principle of “citizenship by birth within

the territory” of the United States. Wong Kim Ark, 169 U.S. at 693. This principle has its roots in

English common law, see Calvin v. Smith, 77 Eng. Rep. 377 (K.B. 1608), and applied in the

colonial era and early years of the American republic, see Wong Kim Ark, 169 U.S. at 658; Inglis

v. Trustees of Sailor’s Snug Harbor, 28 U.S. 99, 164 (1830).

        25.     However, in the infamous case of Dred Scott v. Sandford, the Supreme Court held

that, despite their birth in the United States, the descendants of enslaved people were “not included,

and were not intended to be included, under the word ‘citizens’ in the Constitution.” 60 U.S. 393,

404-05 (1857).

        26.     After the Civil War, Congress repudiated Dred Scott and constitutionalized the

birthright citizenship rule in the Fourteenth Amendment’s Citizenship Clause, which provides that

“[a]ll persons born or naturalized in the United States, and subject to the jurisdiction thereof, are

citizens of the United States.” U.S. Const. amend. XIV, § 1. See Wong Kim Ark, 169 U.S. at 692-

93. In so doing, the Framers strove to transform American citizenship from a race-based, two-

tiered system, to one that was equally open to all regardless of their parents’ heritage.

        27.     The Citizenship Clause was enacted with full knowledge among both proponents

and opponents that it would guarantee the citizenship of children of noncitizens.




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         28.   Accordingly, when the question of the citizenship of the child of two Chinese

nationals—who at that time were barred under the Chinese Exclusion Acts from becoming U.S.

citizens themselves—came before the Supreme Court in Wong Kim Ark, it rightly concluded that

because the plaintiff had been born in the United States, he was a citizen, regardless of his parents’

circumstances. 169 U.S. at 693. In Wong Kim Ark, the Supreme Court conclusively determined

that all children born in the United States are citizens, subject only to very limited exceptions.

         29.   The only exception relevant today is the children of foreign diplomats, who, under

Wong Kim Ark, are not “subject to the jurisdiction” of the United States. Id. at 658.

         30.   Another exception Wong Kim Ark noted were children born to foreign armies living

in U.S. territory that those armies had conquered. Id. at 682-83. There is no such U.S. territory

today.

         31.   Finally, Wong Kim Ark noted an exception for children born to Native Americans

living within tribal territory. Id. at 681. Because tribes were sovereign entities, children born to

Native Americans in their territory were deemed similar to “the children of subjects of any foreign

government born within the domain of that government.” Id. (quoting Elk v. Wilkins, 112 U.S. 94,

102 (1884)). Congress later declared all Native Americans born in the United States to be U.S.

citizens. Indian Citizenship Act, Pub. L. No. 68-175, 43 Stat. 253 (1924).

         32.   Beyond these exceptions, the Fourteenth Amendment’s guarantee of birthright

citizenship applies to “the children born within the territory of the United States of all other

persons.” Wong Kim Ark, 169 U.S. at 693.

         33.   In 1940, Congress enacted a statute that mirrors the Citizenship Clause. The

birthright citizenship statute provides that “a person born in the United States, and subject to the

jurisdiction thereof” is a citizen of the United States. 8 U.S.C. § 1401(a); see also id. §§ 1402,



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1406(b), 1407(b). This language “[wa]s taken . . . from the fourteenth amendment to the

Constitution.” To Revise and Codify the Nationality Laws of United States into a Comprehensive

Nationality Code: Hearings Before the H. Comm. on Immig. and Naturalization on H.R. 6127

Superseded by H.R. 9980, 76th Cong. 38 (1940). In 1952, the birthright citizenship statute was

reenacted as part of a broader set of reforms to the naturalization laws.

       34.     In passing and reenacting this statute, Congress codified the long-settled

interpretation of the Fourteenth Amendment, whereby all children born in the United States were

citizens, subject only to the narrow exceptions identified in Wong Kim Ark.

B. The Executive Order

       35.     On January 20, 2025, President Trump issued the Order.

       36.     The Order purports to declare that a child born in the United States is not a citizen

if, at the time of birth, their mother is either “unlawfully present in the United States” or their

“mother’s presence in the United states was lawful but temporary,” and their father was not a U.S.

citizen or lawful permanent resident.

       37.     The Order directs the Secretary of State, the Attorney General, the Secretary of

Homeland Security, and the Commissioner of Social Security to implement its terms. It also directs

all other agency heads to issue guidance regarding implementation of the Order. Such agencies

include USDA and CMS.

       38.     The Order specifies that it will apply to persons born after 30 days from its issuance.

       39.     Neither the Constitution nor any federal statute confers any authority on the

President to redefine American citizenship.

       40.     By attempting to limit the right to birthright citizenship, the Order exceeds the

President’s authority and runs afoul of the Constitution and federal statute.



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C. Class Representative Plaintiffs

       41.      The Class Representative Plaintiffs—Barbara, Sarah, Susan, Matthew, and Mark—

bring this action under Federal Rules of Civil Procedure 23(a) and 23(b)(2) on behalf of themselves

and a nationwide class of all other persons similarly situated.

       42.      In this action, Class Representative Plaintiffs seek to represent the following

Proposed Class: All current and future persons who are born on or after February 20, 2025, where

(1) that person’s mother was unlawfully present in the United States and the person’s father was

not a United States citizen or lawful permanent resident at the time of said person’s birth, or (2)

that person’s mother’s presence in the United States was lawful but temporary, and the person’s

father was not a United States citizen or lawful permanent resident at the time of said person’s

birth, as well as the parents (including expectant parents) of those persons.

       43.      The proposed class satisfies the prerequisites of Rule 23(a).

       44.      The proposed class satisfies the numerosity requirements of Fed. R. Civ. P.

23(a)(1) because the proposed class is so numerous that joinder of all members is impracticable.

The Order denies birthright citizenship to all U.S.-born children whose mother is either unlawfully

present or temporarily present, and whose father is not a U.S. citizen or lawful permanent resident.

Under the Order’s criteria, more than two hundred thousand newborns will be unlawfully denied

citizenship each year. See Repealing Birthright Citizenship Would Significantly Increase the Size

of   the     U.S.   Unauthorized     Population,       Migration   Policy    Instit.   (May    2025),

https://www.migrationpolicy.org/news/birthright-citizenship-repeal-projections.

       45.      Joinder is also impracticable because of the sheer number of proposed class

members, because they are geographically dispersed across the country, and because membership

in the class will be constantly changing as more children are born every day under the conditions



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set forth in the Order.

       46.     The class meets the commonality requirements of Fed. R. Civ. P. 23(a)(2). The

members of the proposed class are subject to a common practice: the categorical denial of U.S.

citizenship at birth under the Executive Order. This suit also raises questions of law common to

the proposed class, including whether the denial of citizenship violates the Citizenship Clause of

the Fourteenth Amendment, whether it contravenes the statutory protections of birthright

citizenship under 8 U.S.C. § 1401 et seq., and whether the Order’s implementation is arbitrary and

capricious in violation of the Administrative Procedure Act.

       47.     The proposed class meets the typicality requirements of Fed. R. Civ. P. 23(a)(3)

because the claims of the Class Representative Plaintiffs are typical of the claims of the class.

Each family faces the same principal injury (denial of birthright citizenship), based on the same

government practice (the Executive Order’s categorical denial of citizenship), which is unlawful

as to the entire class because it violates constitutional and statutory protections.

       48.     The proposed class meets the adequacy requirements of Fed. R. Civ. P. 23(a)(4).

The Class Representative Plaintiffs seek the same relief as the other members of the class—among

other things, a declaratory judgment that Defendants’ policy of denying birthright citizenship is

unlawful and an injunction against that policy. In defending their rights, Class Representative

Plaintiffs will defend the rights of all proposed class members fairly and adequately. The Class

Representative Plaintiffs are members of the class, and their interests do not conflict with those of

the other class members.

       49.     The proposed class is represented by experienced attorneys from the American

Civil Liberties Union Foundation Immigrants’ Rights Project, the ACLU of New Hampshire, the

ACLU of Massachusetts, the ACLU of Maine, the Asian Law Caucus, the NAACP Legal Defense



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and Educational Fund, and the Democracy Defenders Fund. Proposed Class Counsel have

extensive experience litigating class action lawsuits and other complex systemic cases in federal

court on behalf of noncitizens and individuals challenging government actions. The interests of

the members of the class will be fairly and adequately protected by the Class Representative

Plaintiffs and their attorneys.

          50.   The proposed class also satisfies Fed. R. Civ. P. 23(b)(2). Defendants have acted

(or will act) in the same unconstitutional manner with respect to all class members by enforcing

the Executive Order in violation of the Constitution and federal statutes. Injunctive and declaratory

relief is therefore appropriate with respect to the class as a whole.

D. Impact of the Order on Plaintiffs and Other Families.

          51.   Denying citizenship to children being born every day throughout the country would

have devastating impacts on Plaintiffs and on the United States as a whole.

          52.   Stripping children of the “priceless treasure” of citizenship, Fedorenko, 449 U.S.

at 507, is a grave injury. It denies them the full membership in U.S. society to which they are

entitled.

          53.   Allowing the Order to stand would “promot[e] the creation and perpetuation of a

subclass” of children who were born in the United States but lack fundamental legal recognition

and face stigma as a result of their novel and uncertain status. Plyler v. Doe, 457 U.S. 202, 230

(1982).

          54.   By attacking the principle that all children born in this country are citizens, the

Order will invite persistent questioning of the citizenship of children of immigrants—particularly

children of color.

          55.   The Order’s denial of these children’s citizenship will also have numerous other



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consequences.

        56.     Among other things, as they become adults, these children will, if stripped of their

citizenship, be denied the right to vote in federal elections, see U.S. Const. art. 1, § 2; serve on

federal juries, see 28 U.S.C. § 1865(b); serve in many elected offices, see U.S. Const. art. 2, § 1,

cl. 5; id. art. 1, §§ 2, cl. 2, 3, cl. 3; and work in various federal jobs, see, e.g., 35 U.S.C. § 3; 47

U.S.C. § 154(b)(1); 49 U.S.C. §§ 106(b)(1)(B)(i), 114(b)(1)(B)(i), 44935(e)(2)(A)(ii).

       57.      Once deemed to be noncitizens, these children will be subject to immigration

enforcement by DHS, CBP, and ICE. This may include arrest, detention, and deportation to

countries they have never even visited.

       58.      Improperly threatening children with arrest, detention, and deportation, and forcing

them to grow up in fear of immigration enforcement, imposes harms on those children and their

parents.

        59.     That fear is multiplied for parents who face further concern that their baby’s

removal would be to a country where their lives or freedom would be in danger.

       60.      United States passports are issued to United States citizens. See 22 U.S.C. § 212;

22 C.F.R. § 51.2(a). United States passports may be used for international travel, and as

identification for many other purposes.

       61.      Children will be ineligible for United States passports under the Order.

       62.      Without passports, these children may not be able to travel outside the country to

visit family. This threatens to undermine family ties and prevent noncitizens from traveling abroad

to, for example, visit ailing relatives or celebrate a wedding.

       63.      Likewise, many families rely on passports as one of the only available forms of

government identification for their children, which can be vital for both practical purposes, and to



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prove the child’s identity and relationship to their parents in cases of contact with law enforcement

or other government agencies.

         64.    The Order may also render children legally or effectively stateless. A U.S.-born

child deemed to be a noncitizen may likewise not be recognized as a citizen under the laws of their

parents’ country or countries of origin. Even if legally possible, practical barriers may prevent

these children from being recognized as citizens of any other country.

         65.    Stateless people often lack access to education, employment, health care, and other

rights, and face travel restrictions, social exclusion, and heightened vulnerability to violence and

other harms.

         66.    Denying these children citizenship may also render them ineligible for critical

early-life nutritional resources and medical care. See 8 U.S.C. § 1611.

         67.    For example, U.S. citizen children are eligible for SNAP. SNAP provides access to

critically important groceries for low-income households.

         68.    Because they would be deemed noncitizens under the Order, these children risk

being deemed ineligible for access to nutrition under SNAP. See 7 U.S.C. § 2015(f); 7 C.F.R. §

273.4.

         69.    Ensuring access to nutritious food during early childhood is vital for children’s

physical and mental development, laying a foundation for future well-being.

         70.    Access to medical care plays a critical role in improving life outcomes for children

and leads to improved cognitive and physical growth.

         71.    Without it, children are at greater risk of avoidable hospitalizations and long-term

health disparities.

         72.    Moreover, the denial of medical coverage may require members to forego



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necessities such as food and shelter in order to pay for medical expenses.

                                       CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF
                   Fourteenth Amendment to the United States Constitution
                                    (All Defendants)

          73.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          74.   The Citizenship Clause of the Fourteenth Amendment provides that “[a]ll persons

born or naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the

United States.” U.S. Const. amend. XIV, § 1.

          75.   The Citizenship Clause enshrined in the Constitution the fundamental common law

rule of birth by citizenship, whereby all people born in the United States are citizens. The term

“subject to the jurisdiction” excludes only a few inapplicable categories—today, just the children

of foreign diplomats. All other children born in the United States are citizens, no matter the

immigration status of their parents.

          76.   The Executive Order violates the Fourteenth Amendment’s Citizenship Clause

because it denies citizenship to the children of noncitizens who are born in the United States and

subject to the jurisdiction of the United States.

                                SECOND CLAIM FOR RELIEF
                                    8 U.S.C. § 1401 et seq.
                                       (All Defendants)

          77.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          78.   8 U.S.C. § 1401(a) provides that “a person born in the United States, and subject to

the jurisdiction thereof” is a citizen of the United States. See also id. §§ 1402, 1406(b), 1407(b).

          79.   This language mirrors the Fourteenth Amendment’s Citizenship Clause. In this
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statute, Congress codified the Fourteenth Amendment’s existing interpretation, which established

citizenship for children regardless of the immigration status of their parents.

          80.   The Executive Order violates 8 U.S.C. § 1401 et seq. because it denies citizenship

to the children of noncitizens who are born in the United States and subject to the jurisdiction of

the United States.

                                 THIRD CLAIM FOR RELIEF
                                 Administrative Procedure Act
                           (All Defendants except Defendant Trump)

          81.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          82.   The actions of Defendants that are required or permitted by the Executive Order, as

set forth above, are contrary to constitutional right, power, privilege, or immunity, including rights

protected by the Fourteenth Amendment to the U.S. Constitution, in violation of the

Administrative Procedure Act, 5 U.S.C. § 706(2)(B).

                                FOURTH CLAIM FOR RELIEF
                                 Administrative Procedure Act
                           (All Defendants except Defendant Trump)

          83.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          84.   The actions of Defendants that are required or permitted by the Executive Order, as

set forth above, violate 8 U.S.C. § 1401 et seq. and are in excess of statutory jurisdiction, authority,

or limitations, or short of statutory right, in violation of the Administrative Procedure Act, 5 U.S.C.




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§ 706(2)(C).

                                     PRAYER FOR RELIEF

         WHEREFORE Plaintiffs request that the Court grant the following relief:

         a.     Certify this matter as a Class Action, appoint the Class Representative Plaintiffs as

Class Representatives, and appoint the Class Representative Plaintiffs’ Counsel as Class Counsel;

         b.     Declare that the Executive Order is unconstitutional and unlawful in its entirety;

         c.     Preliminarily and permanently enjoin Defendants from enforcing the Executive

Order;

         d.     Require Defendants to pay reasonable attorneys’ fees and costs;

         e.     Grant any other and further relief that this Court may deem just and proper.

 Dated: June 27, 2025                                 Respectfully submitted,

                                                      /s/ SangYeob Kim
 Cody Wofsy*                                          SangYeob Kim (N.H. Bar No. 266657)
 Hannah Steinberg*                                    Gilles R. Bissonnette (N.H. Bar. No.
 Stephen Kang*                                        265393)
 Spencer Amdur*                                       Henry R. Klementowicz (N.H. Bar. No.
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